Case 5:21-cv-00825-JGB-SP Document 13 Filed 08/19/21 Page 1 of 7 Page ID #:49
  1
  2
  3
  4
  5
  6
  7
  8                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  9
  10 ADAM E BELSKY                               CASE NO:
                                                 5:21−cv−00825−JGB−SP
  11                   Plaintiff(s),
                                                 ORDER SETTING SCHEDULING
  12         v.                                  CONFERENCE
       MEDICAL DATA SYSTEMS, INC.
  13                                             Date: November 15, 2021
                                                 Time: 11:00 AM
  14                                             Location: Courtroom 1
                                                 3470 Twelfth Street
  15                Defendant(s).                Riverside, California 92501
  16
  17
  18              READ THIS ORDER CAREFULLY. IT DIFFERS IN
  19               SOME RESPECTS FROM THE LOCAL RULES.
  20         This case has been assigned to Judge Jesus G. Bernal. This matter is set
  21    for a scheduling conference on the above date. If plaintiff has not already served
  22    the operative complaint on all defendants, plaintiff promptly shall do so and shall
  23    file proofs of service within three days thereafter. Defendants also timely shall

  24    serve and file their responsive pleadings and file proofs of service within three

  25    days thereafter. At the scheduling conference, the Court will set a date by which
  26    motions to amend the pleadings or add parties must be heard.

  27         The conference will be held pursuant to Rule 16(b) of the Federal Rules

  28    of Civil Procedure. The parties are reminded of their obligations under Rule 26(f)


 Revised − July 2013                           −1−
Case 5:21-cv-00825-JGB-SP Document 13 Filed 08/19/21 Page 2 of 7 Page ID #:50
  1
       to confer on a discovery plan not later than 21 days before the scheduling
  2    conference and to e−file a "Joint Rule 26(f) Report" with the Court not later than
  3    14 days before the conference. Mandatory paper chambers copies of the Joint
  4    Rule 26(f) Report must be delivered to Judge Bernal's drop box outside the door

  5    of Courtroom 1 by 5:00 p.m. on the first court day following the e−filing.
  6         The Court encourages counsel to begin to conduct discovery actively before
  7    the Scheduling Conference. At the very least, the parties shall comply fully with
  8    the letter and spirit of Rule 26(a) and thereby obtain and produce most of what
  9    would be produced in the early stage of discovery, because at the Scheduling
  10   Conference the Court will impose strict deadlines to complete discovery.
  11        This Court does not exempt parties appearing in propria persona from
  12   compliance with any of the Local Rules, including Local Rule 16. "Counsel," as

  13   used in this order, includes parties appearing in propria persona.
  14
  15        1.     Joint Rule 26(f) Report
  16        The Joint Rule 26(f) Report, which shall be filed not later than 14 days
  17   before the scheduling conference, shall be drafted by plaintiff (unless the parties

  18   agree otherwise), but shall be submitted and signed jointly. "Jointly" contemplates

  19   a single report, regardless of how many separately−represented parties there are.

  20   The Joint Rule 26(f) Report shall specify the date of the scheduling conference
  21   on the caption page. It shall report on all matters described below, which include
  22   those required to be discussed by Rule 26(f) and L.R. 26:
  23        a.     Statement of the Case: A short synopsis (not to exceed two pages)
  24               of the main claims, counterclaims and affirmative defenses.

  25        b.     Subject Matter Jurisdiction: A statement of the specific basis of

  26               federal jurisdiction, including supplemental jurisdiction.
  27        c.     Legal Issues: A brief description of the key legal issues, including
  28               any unusual substantive, procedural or evidentiary issues.

 Revised − July 2013                          −2−
Case 5:21-cv-00825-JGB-SP Document 13 Filed 08/19/21 Page 3 of 7 Page ID #:51
  1
            d.     Parties, Evidence, etc.: A list of parties, witnesses and key
  2                documents on the main issues in the case. For conflict purposes,
  3                corporate parties must identify all subsidiaries, parents and affiliates.
  4         e.    Damages: The realistic range of provable damages.

  5         f.    Insurance: Whether there is insurance coverage, the extent of
  6                of coverage and whether there is a reservation of rights.
  7         g.     Motions: A statement of the likelihood of motions seeking to add
  8                other parties or claims, file amended pleadings, transfer venue, etc.
  9         h.     Manual for Complex Litigation: Whether all or part of the
  10               procedures of the Manual for Complex Litigation should be utilized.
  11        i.    Status of Discovery: A discussion of the present state of discovery,
  12              including a summary of completed discovery.

  13        j.    Discovery Plan: A detailed discovery plan, as contemplated by Rule
  14              26(f). State what, if any, changes in the disclosures under Rule 26(a)
  15              should be made, the subjects on which discovery may be needed
  16              and whether discovery should be conducted in phases or otherwise
  17              be limited, whether applicable limitations should be changed or other

  18              limitations imposed, and whether the Court should enter other orders.

  19              A statement that discovery will be conducted as to all claims and

  20              defenses, or other vague description, is not acceptable.
  21        k.    Discovery Cut−off: A proposed discovery cut−off date. This means
  22              the final day for completion of discovery, including resolution of all
  23              discovery motions.
  24        l.    Expert Discovery: Proposed dates for expert witness disclosures

  25              (initial and rebuttal) and expert discovery cut−off under Rule 26(a) (2).

  26        m.    Dispositive Motions: A description of the issues or claims that any
  27              any party believes may be determined by motion for summary
  28              judgment or motion in limine.

 Revised − July 2013                           −3−
Case 5:21-cv-00825-JGB-SP Document 13 Filed 08/19/21 Page 4 of 7 Page ID #:52
  1
            n.    Settlement/Alternative Dispute Resolution (ADR): A statement of
  2               what settlement discussions or written communications have occurred
  3               (excluding any statement of the terms discussed). If counsel have
  4               received a Notice to Parties of Court−Directed ADR Program (Form

  5               ADR−08), the case presumptively will be referred to the Court
  6               Mediation Panel or private mediation (at the parties' expense). If
  7               the parties jointly desire a settlement conference with the assigned
  8               magistrate judge, they should so indicate in their report. No case
  9               will proceed to trial unless all parties, including an officer (with full
  10              authority to settle the case) of all corporate parties, have appeared
  11              at an ADR proceeding.
  12        o.    Trial Estimate: A realistic estimate of the time required for trial and

  13              whether trial will be by jury or by court. Each side should specify
  14              (by number, not by name) how many witnesses it contemplates
  15              calling.
  16        p.    Trial Counsel: The name(s) of the attorney(s) who will try the case.
  17        q.    Independent Expert or Master: Whether this is a case where the

  18              Court should consider appointing a master pursuant to Rule 53 or

  19              an independent scientific expert.

  20        r.    Timetable: Complete the Schedule of Pretrial and Trial Dates
  21              form attached as Exhibit A to this Order and attach it to the
  22              Joint Rule 26(f) Report. Each side should write in the month,
  23              day, and year it requests for each event. At the conference, the
  24              Court will review this form with counsel. Each entry proposing

  25              Court dates shall fall on a Monday, except the trial date, which

  26              is a Tuesday. Counsel should insure that requested dates do
  27              not fall on a holiday. In appropriate cases the Court will order
  28              different dates after it hears from counsel. The discovery cut−off

 Revised − July 2013                          −4−
Case 5:21-cv-00825-JGB-SP Document 13 Filed 08/19/21 Page 5 of 7 Page ID #:53
  1
                  date is the last day by which all depositions must be completed,
  2               responses to previously−served written discovery must be provided,
  3               and motions concerning discovery disputes must be heard. The
  4               cut−off date for motions is the last date on which motions may be

  5               heard, not filed.
  6         s.    Other Issues: A statement of any other issues affecting the
  7               status or management of the case (e.g., unusually complicated
  8               technical or technological issues, disputes over protective orders,
  9               extraordinarily voluminous document production, non−English
  10              speaking witnesses, ADA−related issues, discovery in foreign
  11              jurisdictions, etc.) and any proposals concerning severance,
  12              bifurcation, or other ordering of proof.

  13        The Joint Rule 26(f) Report should set forth the above−described
  14   information under section headings corresponding to those in this Order.
  15
  16        2.    Scheduling Conference
  17        Scheduling conferences will be held in Courtroom 1, 3470 Twelfth Street,

  18   Riverside, California. Counsel shall comply with the following:

  19        a.     Participation: Lead trial counsel for all parties must be present.

  20              Counsel must be prepared to discuss the substantive issues in the

  21              case and authorized to address scheduling with the Court and

  22              opposing counsel.
  23        b.     Continuances: A continuance of the scheduling conference will be
  24              granted only for good cause.

  25        3.    Notice to be Provided by Counsel

  26        Plaintiff's counsel or, if plaintiff is appearing pro se, defendant's counsel,

  27   shall provide this Order to any parties who first appear after the date of this Order
  28   and to parties who are known to exist but have not yet entered appearances.

 Revised − July 2013                           −5−
Case 5:21-cv-00825-JGB-SP Document 13 Filed 08/19/21 Page 6 of 7 Page ID #:54
  1
              4.     Court's Website
  2           Copies of this and all other orders of this Court that may become
  3     applicable to this case are available on the Central District of California website,
  4     at www.cacd.uscourts.gov, under "Judge's Procedures and Schedules." Copies

  5     of the Local Rules are available on the website.¹
  6
            IT IS SO ORDERED.
  7
  8    Dated: August 19, 2021
  9
                                                       Jesus G. Bernal
  10                                                   United States District Judge

  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
        ¹   They may also be purchased from one of the following:
  27
        Los Angeles Daily Journal      West Publishing Company      Metropolitan News
        915 East First Street          50 West Kellogg Blvd.        210 South Spring Street
  28    Los Angeles, CA 90012          St. Paul, MN 55164−9979      Los Angeles, CA 90012

 Revised − July 2013                                −6−
Case 5:21-cv-00825-JGB-SP Document 13 Filed 08/19/21 Page 7 of 7 Page ID #:55

                       JUDGE JESUS B. BERNAL
     EXHIBIT A: SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

   Case No.

   Case Name
                                                    Plaintiff(s)' Defendant(s)'   Court's
                        Matter                       Request        Request       Order
                                                    mo/day/year mo/day/year
     Jury Trial or Court Trial
   (Tuesday at 9:00 a.m.)
                      Length: ______ Days

   Final Pretrial Conference [L.R. 16] and
   Hearing on Motions In Limine
   (Monday − two (2) weeks before trial
   date)

   Last Date to Conduct Settlement
   Conference

   Last Date to Hear Non−discovery Motions
   (Monday at 9:00 a.m.)

   All Discovery Cut−Off (including hearing
   all discovery motions)

   Expert Disclosure (Rebuttal)

   Expert Disclosure (Initial)

   Last Date to Amend Pleadings
   or Add Parties



   ADR [L.R. 16−15] Settlement Choice:
                       Attorney Settlement Officer Panel

                       Private Mediation
                       Magistrate Judge




 Revised − July 2013                          −7−
